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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 VICTOR HERNANDEZ,                                          CIVIL ACTION

        Plaintiff,
                                                            NO. 22-0027-KSM
        v.

 CITY OF PHILADELPHIA, et al.,

        Defendants.


                                            ORDER

       AND NOW, this 23rd day of June, 2022, upon consideration of Defendant City of

Philadelphia’s Motion to Dismiss for Failure to State a Claim (Doc. No. 12), Plaintiff’s Response

to Defendant City of Philadelphia’s Motion to Dismiss Plaintiff’s Complaint (Doc. No. 14), the

City of Philadelphia’s Reply Brief in Support of the City’s Motion to Dismiss for Failure to State

a Claim (Doc. No. 15), and Plaintiff’s Sur Reply (Doc. No. 16), it is HEREBY ordered as follows:

       1.       The City of Philadelphia’s Motion is GRANTED, and Plaintiff’s claims against

City of Philadelphia are DISMISSED WITHOUT PREJUDICE.

       2.       Plaintiff may file an amended complaint by July 14, 2022.

       IT IS SO ORDERED.

                                                    /s/ Karen Spencer Marston
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                                                    KAREN SPENCER MARSTON, J.
